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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

JAMES AND THERESA ARNOLD;                           )
JOYCE M. TAYLOR                                     )
                                                    )
               Plaintiffs,                          )
                                                    )
vs.                                                 )       Case No. 16-cv-1309-JTM-TJJ
                                                    )
MAXMIND, INC.                                       )
                                                    )
               Defendant.                           )


      DEFENDANT’S ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT

        COMES NOW Defendant MaxMind, Inc. (“MaxMind”), and for its answer to Plaintiffs

James and Theresa Arnold’s Amended Complaint (Doc. 10), states as follows:

        1.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 1 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 1 of Plaintiff’s Second Amended Complaint.

        2.     Defendant admits that it has been incorporated as a Delaware corporation since

2008. Defendant admits that it was founded in 2002 and that it has a principal place of business

located at 14 Spring Street, 3rd Floor in Waltham, Massachusetts. Defendant denies the remaining

allegations of paragraph 2 of Plaintiffs' Second Amended Complaint.

        3.     Defendant admits that this is a dispute between citizens of different states, but

denies the remaining allegations of paragraph 3 of Plaintiffs' Second Amended Complaint.

Paragraph 3 further contains legal conclusions to which no response is required, but to the extent

that such legal conclusions purport to contain a factual allegation, Defendant specifically denies

all such allegations and legal conclusions.
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                                      Background of the Action

       4.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 4 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 4 of Plaintiff’s Second Amended Complaint.

       5.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 5 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 5 of Plaintiff’s Second Amended Complaint.

       6.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 6 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 6 of Plaintiff’s Second Amended Complaint.

       7.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 7 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 7 of Plaintiff’s Second Amended Complaint.

       8.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 8 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 8 of Plaintiff’s Second Amended Complaint.

       9.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 9 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 9 of Plaintiff’s Second Amended Complaint.

       10.    Defendant is without sufficient information to admit or deny the allegations of

paragraph 10 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 10 of Plaintiff’s Second Amended Complaint.


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       11.     Defendant is without sufficient information to admit or deny the allegations of

paragraph 11 of Plaintiff’s Second Amended Complaint, and therefore must deny each and every

allegation of paragraph 10 of Plaintiff’s Second Amended Complaint.

       12.     Defendant states that the contents of the Fusion article speak for themselves, but

denies the accuracy of said article. Further, the Defendant denies that said article accurately

identifies the cause of Plaintiffs’ alleged problems. As to the remaining allegations of paragraph

12, Defendant is without sufficient information to admit or deny the remaining allegations of

paragraph 12 of Plaintiff’s Second Amended Complaint, and therefore must deny the same.

       13.     Defendant admits the allegations of paragraph 13 of Plaintiff’s Second Amended

Complaint.

       14.     Defendant states that the contents of the Fusion article speak for themselves.

Defendant admits that IP refers to Internet Protocol, that the IP plays a role in computers talking

to each other, and that internet-connected devices need IP addresses. As to the remaining

allegations of paragraph 14, Defendant is without sufficient information to admit or deny the

remaining allegations of paragraph 14 of Plaintiff’s Second Amended Complaint, and therefore

must deny the same.

       15.     Defendant states that the contents of the Fusion article speak for themselves, but

denies the accuracy of said article.

       16.     Defendant admits that IP mapping is not an exact science. Defendant specifically

denies the remaining allegations of paragraph 16 of the Plaintiff’s Second Amended Complaint.

       17.     Defendant admits that over 5,000 companies draw information from MaxMind’s

databases. Defendant denies that it has ever sent the Plaintiffs’ address when queried about a


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location.    As to the remaining allegations of paragraph 17, Defendant is without sufficient

information to admit or deny the remaining allegations of paragraph 17 of Plaintiff’s Second

Amended Complaint, and therefore must deny the same.

       18.     Defendant admits that it publishes free, publicly downloadable databases on its

website that are downloaded without charge and updated monthly. Defendant denies that its

databases have linked, falsely or otherwise, Plaintiffs' residence with IP addresses. As to the

remaining allegations of paragraph 18, Defendant is without sufficient information to admit or

deny the remaining allegations of paragraph 18 of Plaintiff’s Second Amended Complaint, and

therefore must deny the same.

       19.     Defendant specifically denies each and every allegation of paragraph 19 of the

Plaintiff’s Second Amended Complaint.

       20.     Defendant denies that the information published by MaxMind has contained any

information about the Plaintiffs. As to the remaining allegations of paragraph 20, Defendant is

without sufficient information to admit or deny the remaining allegations of paragraph 20 of

Plaintiff’s Second Amended Complaint, and therefore must deny the same.

       21.     Defendant specifically denies each and every allegation of paragraph 21 of the

Plaintiff’s Second Amended Complaint.

       22.     Defendant specifically denies each and every allegation of paragraph 22 of the

Plaintiff’s Second Amended Complaint.

       23.     Defendant specifically denies each and every allegation of paragraph 23 of the

Plaintiff’s Second Amended Complaint.




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          24.   Defendant specifically denies each and every allegation of paragraph 24 of the

Plaintiff’s Second Amended Complaint and further denies each and every allegations of the

WHEREFORE paragraph of Plaintiff’s Second Amended Complaint.

          25.   Defendant denies each and every allegation of Plaintiff’s Second Amended

Complaint not specifically admitted herein.

                                      AFFIRMATIVE DEFENSES

          26.   Plaintiff’s Second Amended Complaint and each and every allegation therein fail

to state a claim against Defendant upon which relief may be granted.

          27.   Plaintiff’s Second Amended Complaint is barred by the applicable statute of

limitations.

          28.   Plaintiff’s Second Amended Complaint is barred by the applicable statute of repose.

          29.   Plaintiffs are not a property party in interest in that they are leaseholders and not

the owners of the land.

          30.   Defendant is not subject to personal jurisdiction within the State of Kansas and the

exercise of such jurisdiction violates Due Process.

          31.   Plaintiff’s Second Amended Complaint fails to join indispensable parties in that if

any actual harms were caused to Plaintiffs, which this Defendant denies, those harms were caused

by parties who are not presently joined in the action.

          32.   Plaintiffs have not been damaged by the acts of the Defendant.

          33.   The alleged negligence or fault of the parties to this suit and other non-parties must

be compared pursuant to K.S.A. 60-258a, which bars or diminishes Plaintiffs’ right to recover

herein.


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       34.       To the extent Plaintiffs sustained any damage that was caused by their own conduct

and/or the conduct of other parties or non-parties and/or superseding or intervening causes,

Plaintiffs are barred and estopped from recovery against this Defendant.

       35.       Defendant asserts that if the Plaintiffs suffered damages, which this Defendant

specifically denies, those damages were not a foreseeable consequence of the actions of this

Defendant.

       36.       Plaintiffs have failed to mitigate their damages.

       37.       Plaintiffs’ claims are barred by the doctrines of laches, estoppel, waiver, and

unclean hands.

       38.       Defendant hereby asserts any other affirmative defense which may be uncovered

during the course of discovery.

   WHEREFORE, Defendant MaxMind, Inc. prays that the Court enter judgment in favor of

Defendant and against Plaintiffs and for such other relief as the Court deems just and proper.



                                     JURY TRIAL DEMAND

       Defendant respectfully requests a trial by jury in this matter.




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                                                      Respectfully Submitted by:

                                                      /s/ Jordon T. Stanley___________
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                                                      ATTORNEYS FOR DEFENDANT
                                                      MAXMIND, INC.



                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of February, 2017, I electronically filed the foregoing
with the clerk of the court by using the CM/ECF system which will send a notice of electronic
filing to the following:

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ATTORNEYS FOR PLAINTIFF



                                                      /s/ Jordon T. Stanley_________

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                                    Attorney for Defendant MaxMind, Inc.




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